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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

Matchroom Boxing Limited; and                                  Civil Action No.: 1:22-cv-08178 (PGG)
Edward John Hearn,

                                   Plaintiffs,                 JOINT STIPULATION AND
                                                               [PROPOSED] ORDER ACCEPTING
                                                               SERVICE OF PROCESS
        — against —


Jake Paul,

                                    Defendant.
-------------------------------------------------------X

        IT IS HEREBY STIPULATED, by and between the undersigned attorneys representing all
parties in the above-captioned action that:

        1. Meister Seelig & Fein LLP represents Defendant Jake Paul (“Defendant”) in the

above-captioned action for purposes of accepting service of Plaintiffs’ Summons and Complaint,

filed on September 23, 2022.

        2. Defendant hereby accepts service, through electronic copy, of Plaintiffs’ Summons and

Complaint in the form filed as dockets #5-6 in the above-captioned matter, through his attorney,

whose signature appears below. Service shall be deemed accepted as of September 30, 2022.

        3. By authorizing his counsel to accept service on his behalf, Defendant is not waiving

any defense other than insufficient process and insufficient service of process (Rules 12(b)(4) and

(5) of the Federal Rules of Civil Procedure).

        4. Pursuant to Rule 12 of the Federal Rules of Civil Procedure, Defendant has sixty

(60) days, or by November 29, 2022, to answer or otherwise respond to Plaintiffs’ Complaint.

        5. For convenience purposes, either a digital or facsimile copy of this Stipulation may

be used in place of the original.



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       6. The parties reserve all rights to seek to modify, alter or amend this stipulation and order,

for good cause shown.

SO ORDERED this ______ day of ____________, 2022.




                                              _________________________
                                              Honorable Paul G. Gardephe
                                              United States District Judge




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